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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE/OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                               CRIMINAL ACTION NO. 05-60040
                                                        CIVIL ACTION NO. 08-656

 VERSUS                                                 JUDGE MELANCON

 KEITH ROMAN HENDERSON                                  MAGISTRATE JUDGE HANNA

                              REPORT AND RECOMMENDATION

       Before the court is plaintiff Keith Roman Henderson’s Petition for Writ of Habeas

 Corpus Pursuant to Title 28 U.S.C. 2255 to Vacate, Set Aside, or Correct Sentence by a

 Person in Federal Custody (Rec. Doc. 147). The motion is opposed.

 Background and Argument

       Keith Roman Henderson was indicted on July 13, 2005, for Count 1, Conspiracy to

 Distribute Cocaine Base (Crack), in violation of 21 U.S.C. § 846 (50 or more grams);

 Count 2, Distribution of Cocaine Base in violation of 21 U.S.C. § 841(a)(1)

 (approximately 128.3 grams); Count 3, Distribution of Cocaine Base in violation of 21

 U.S.C. § 841(a)(1) (approximately 124.9 grams). On December 14, 2005, Henderson

 was charged by superceding indictment with the original three counts and an additional

 Count 4, Distribution of Cocaine Base in violation of 21 U.S.C. § 841(a)(1)

 (approximately 119.14 grams); and Count 8, Forfeiture, 21 U.S.C. § 853, of a 2000 Ford

 Ranger pickup truck.1

       1
           Superseding Indictment (Rec. Doc. 60).

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        On April 21, 2006, Keith Henderson was convicted and found guilty on Counts 1,

 2 and 3, but was found not guilty on Count 4. His brother and co-defendant, Lionel

 Joseph Henderson, was convicted and found guilty of Counts 1 and 2, but was found not

 guilty on Counts 3 and 4, and not guilty on additional counts brought solely against him

 for alleged firearm offenses. 2 Lionel Henderson was sentenced to life imprisonment.3

 Keith Henderson was sentenced to 292 months of imprisonment per count to run

 concurrently, plus an additional 10 years of supervised release.4

        In his motion, defendant argues his trial counsel was ineffective for failing to voir

 dire and subject the government’s witnesses, confidential informant James Legarde, New

 Orleans narcotics agent Ricky Jackson, and Drug Enforcement Agent William Johnson, to

 a Daubert5 hearing relative to their providing opinion testimony that the substance

 involved in transactions between defendant and his brother Lionel was “crack cocaine” or

 “cocaine base.” Henderson argues “[t]hese witnesses were clearly not qualified to render

 such a scientific expert substance opinion which was the basis of the evidence the jury

 relied on to reach its verdicts. . . .” 6 Henderson further argues as follows:



        2
            Verdict Form (Rec. Doc. 100).
        3
            Judgment in a Criminal Case (Rec. Doc. 116).
        4
            Judgment in a Criminal Case (Rec. Doc. 113).
        5
            Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993).
        6
         Petition for Writ of Habeas Corpus Pursuant to Title 28 U.S.C. 2255 to Vacate, Set Aside, or
 Correct Sentence by a Person in Federal Custody (Rec. Doc. 147), p. 3.

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        In this case, neither the jury or any facts admitted by defendant in a guilty
        plea established beyond a reasonable doubt whether the mixture or
        substance contained 50 grams or more of actual weight of cocaine base or
        crack, to support the Ten year Mandatory Minimum Statutory Sentence,
        pursuant to 21 U.S.C. § 841(b)(1)(A)(iii), by expert testimony using
        Congress’ fixed Standard of Weights and Measures, mandated under Article
        I, Section 8, Clause 5, of the United States Constitution, pursuant to
        evidence admissible under Daubert, supra. Under 18 U.S.C. § 3583(c0(2),
        for Modification of an Imposed Term of Imprisonment, this Court must
        hold a DAUBERT SENTENCING WEIGHT HEARING, pursuant to
        Crawford v. Washington, 541 U.S. 36, 158 L.Ed.2d 177, 124 S.Ct. 1354
        (2004), and the Sixth Amendment right to a jury as the fact-finder for
        sentence enhancement, even the statutory mandatory minimum of 18 U.S.C.
        §841(b)(1)(A)(iii), under Apprendi.7

        Henderson argues trial counsel was also ineffective because he failed to object to

 the amount of cocaine, 11.76 kilograms, he was listed as accountable for on the pre-

 sentence investigation report (PSR). Specifically, Henderson argues 11.34 kilograms of

 the total of 11.76 kilograms defendants was held responsible for distributing in the PSR

 was attributed to the testimony of confidential informant James Legarde, as follows:

        James Legarde, a Drug Enforcement Administration informant, testified at
        trial about his history of drug transactions with Keith Henderson and his
        brother, Lionel Henderson, in the Amelia, Louisiana area. He testified that
        between April 2003 and February 2005, he purchased two (2) to three (3)
        ounces of cocaine base on two(2) to three (3) occasions weekly from Keith
        Henderson, or from Lionel Henderson if Keith Henderson could not be
        reached. The period from April 2003 until February 2005 is approximately
        one hundred (100) weeks. Based on two (2) purchases weekly, Legarde
        purchased cocaine base from Keith Henderson and Lionel Henderson on
        approximately two hundred (200) occasions. If Legarde purchased two (2)
        ounces of cocaine base on each occasion, he would have purchased a total
        of

        7
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        four (400) ounces, which is the equivalent of 11.34 kilograms of cocaine
        base.8

        Keith Henderson argues counsel for his co-defendant and brother, Lionel

 Henderson, filed an objection to the PSR’s inclusion of the 11.76 (net 11.34) kilograms of

 cocaine base in determination of the base offense level, which was sustained by the court,

 but did not affect his two concurrent life sentences.9 However, Keith Henderson argues

 his attorney did not object to the inclusion of the 11.34 kilograms in his PSR, which

 resulted in a base offense level of thirty-eight (38). This higher base level, Henderson

 argues, resulted in an incorrect and prejudicial sentence.

        Keith Henderson appealed his conviction and sentence and Lionel Henderson

 appealed his sentence.10 The United States Court of Appeals for the Fifth Circuit

 affirmed the convictions and sentences of the defendants, issued as mandate on October

 25, 2007.11 Keith Henderson objected to the district court’s adoption of the PSR’s drug

 quantity on appeal, and the Fifth Circuit ruled in pertinent part as follows:

        Any amount of cocaine base greater than 1.5 kilograms results in a base
        offense level of thirty-eight. U.S.S.G. § 2D1.1(c)(1). Keith Henderson
        challenges the district court’s adoption of the PSR’s determination that he
        was responsible for 11.76 kilograms of cocaine base. He claims the PSR
        relied on the “uncorroborated testimony of the impeached and discredited
        CI, James Legarde.”

        8
            Presentence Investigation Report (Rec. Doc. 112), p. 5.
        9
            Id., p. 4.
        10
             See Notices of Appeal (Rec. Docs. 117, 120).
        11
             See Judgments (Rec. Docs. 141, 142).

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        Keith Henderson made no objections to the PSR. If a defendant does not
        object to portions of the PSR and provides no evidence in rebuttal, “the
        district court [is] certainly free to adopt the findings of the [PSR] without
        more specific inquiry or explanation.” United States v. Mueller, 902 F.2d
        336, 346 (5 th Cir. 1990). Furthermore, a review of the record shows that the
        district court did not err in adopting the factual determinations of the PSR.
        Keith Henderson argues that his acquittal on count four, which was the drug
        distribution charge related to July 13, 2005, indicates that the jury
        questioned Legarde’s credibility. However, the jury convicted the
        Hendersons of drug distribution in counts two and three, where the net
        weight of the cocaine base was determined to be 128.3 grams and 124.9
        grams, respectively. The most plausible explanation for the acquittal on
        count four is that the net weight of the cocaine base was 46.6 grams, under
        the fifty grams required for conviction. There is no basis in the record to
        question the district court’s and the PSR’s reliance on Legarde in
        determining drug quantity, particularly since the PSR’s calculated amount
        of 11.76 kilograms was 10.25 kilograms more than necessary to assess
        Keith Henderson with the same base offense level.12

 Applicable Law and Discussion

 Scope of §2255 Relief

        The scope of relief afforded under §2255 is extremely narrow. It is “reserved for

 transgressions of constitutional rights and for a narrow range of injuries that could not

 have been raised on direct appeal and would, if condoned, result in a complete

 miscarriage of justice." United States v. Vaughn, 955 F.2d 367, 368 (5th Cir.1992);

 United States v. Acklen, 47 F.3d 739, 741 (5th Cir.1995). “We apply this rigorous

 standard in order to ensure that final judgments command respect and that their binding

 effect does not last only until "the next in a series of endless post-conviction collateral



        12
             Judgment (Rec. Doc. 142), p. 12, 13.

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 attacks." United States v. Shaid, 937 F.2d 228, 231-232 (5th Cir.1991), cert. denied, 112

 S.Ct. 978 (1992).

        Section 2255 provides four grounds for relief:

       1.     that the sentence violates the Constitution or other federal law;
       2.     that the court lacked jurisdiction;
       3.     that the sentence exceeded the maximum allowed by law; or
       4.     that the sentence is otherwise “subject to collateral attack.”
 28 U.S.C. §2255.

        Section 2255 does not contain an exhaustion requirement, but a petitioner may not

 collaterally attack a conviction until it has been affirmed on appeal absent exceptional

 circumstances. Fassler v. United States, 858 F.2d 1016, 1019 (5 th Cir. 1988) (per

 curiam). See also Section 2255 Rules, note 1, R. 5 advisory committee’s note (“orderly

 administration of criminal law precludes considering such a motion absent exceptional

 circumstances”).

        Failure to raise a claim at trial or on appeal generally results in a waiver of the

 claim. United States v. Frady, 456 U.S. 152, 162-66 (1982). A defendant must show

 "cause" for his procedural default and "actual prejudice" resulting from the alleged error.

 Id. at 170-171; Shaid, 937 F.2d at 232. This "cause" and "prejudice" test must be

 satisfied even if the defendant alleges fundamental constitutional error. Murray v.

 Carrier, 477 U.S. 478, 493, 106 S.Ct. 2639, 2648, 91 L.Ed.2d 397 (1986). There are three

 recognized exceptions to the cause and prejudice requirement:

        1.     In "extraordinary cases" where a constitutional error has probably resulted
               in the conviction and incarceration of someone who is actually innocent

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               (Carrier, 106 S.Ct. at 2649; Shaid, 937 F.2d at 232);

        2.     when the government fails to object to the consideration of newly raised
               issues (United States v. Gaudet, 81 F.3d 585, 589 (5 th Cir. 1996); and

        3.     for certain constitutional claims that may only be adequately addressed on
               collateral attack, such as ineffective assistance of trial counsel. United
               States v. Riascos, 76 F.3d 93, 94-95 (5 th Cir. 1996).

        To prevail on an ineffective assistance of counsel claim, a petitioner must establish

 two things: (1) his attorney's representation fell below an objective standard of

 reasonableness; and (2) there is a reasonable probability that, but for counsel's deficient

 performance, the outcome of the proceedings would have been different. Strickland v.

 Washington, 466 U.S. 668, 104 S.Ct. 2052, 2064, 80 L.Ed. 2d 674 (1984). The burden is

 on the petitioner to show that counsel's representation fell below an objective standard of

 reasonableness. Id. at 688. The court's scrutiny shall be "highly deferential" and the court

 must apply a "strong presumption that counsel's conduct falls within the wide range of

 reasonable professional assistance." Id. at 689-90. See also Marler v. Blackburn, 777

 F.2d 1007, 1010 (5th Cir. 1985).

        The Strickland court further outlined the extent of prejudice that must be

 established by the defendant:

        [A]n error by counsel, even if professionally unreasonable, does not warrant
        setting aside the judgment of the criminal proceeding if the error had no
        effect on the judgment. Cf. United States v. Morrison, 449 U.S. 361,
        364-65 (1981).

 Strickland, supra, at pages 691, 694-95; see also Taylor v. Maggio, 727 F.2d 241 (5th Cir.



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 1984); United States v. Diaz, 733 F. 2d 371 (5th Cir. 1984).

        A habeas court must be careful not to second-guess legitimate strategic choices

 made by defense counsel which under the light of hindsight seem ill-advised and

 unreasonable. Sawyer v. Butler, 848 F. 2d 582, 587-88 (5th Cir. 1988).

        Conversely, the court may dismiss a §2255 motion which raises claims previously

 raised on direct appeal. United States v. Santiago, 993 F.2d 504, 506 (5 th Cir. 1993). An

 exception may be made if the movant relies upon an intervening change in the law or

 newly discovered evidence.

 Failure to Request a Daubert Hearing

        Henderson argues his attorney was ineffective for failing to request a Daubert

 hearing at trial to challenge the testimony of James Legarde, Ricky Jackson, and William

 Johnson that the substance involved in the transactions was “crack cocaine” or “cocaine

 base.” In order to prevail, Henderson must show that there is a reasonable probability that

 but for counsel's unprofessional errors, the result of the proceeding would have been

 different. “A reasonable probability is a probability sufficient to undermine confidence in

 the outcome.” Strickland, 466 U.S. at 694. Because both Strickland factors, that of

 deficient performance and prejudice, must be satisfied, "an ineffective assistance

 contention may be rejected on an insufficient showing of prejudice, without inquiry into

 the adequacy of counsel's performance." Strickland, 466 U.S. at 689-94.

        The undersigned finds counsel was not ineffective in failing to request a Daubert



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 hearing for the government’s witnesses Legarde, Jackson, or Johnson, as these witnesses

 were not experts whose testimony was subject to Fed. R. Evid. 702, but were instead lay

 witnesses. A lay witness may identify a controlled substance. United States v. Benbrook,

 40 F.3d 88, 94 (5 th Cir. 1994). Moreover, scientific tests from the Drug Enforcement

 Agency’s Dallas and South Central laboratories, not witness testimony, confirmed net

 weights of 128.3 grams of cocaine base in Count Two and 124.9 grams of cocaine base in

 Count Three of the indictment for which defendant was convicted, which is well in excess

 of the 50 grams of cocaine base required for conviction on Counts One, Two, and

 Three.13

         An attorney cannot be found ineffective for failing to raise an meritless objection.

 Sones v. Hargett, 61 F.3d 410, 415 n.5 (5 th Cir. 1995). The undersigned finds counsel’s

 failure to request a Daubert hearing for the government’s witnesses was not deficient

 representation and there was no prejudice to defendant.

 Failure to Object to the Drug Quantities in the PSR

         As an initial matter, the Fifth Circuit ruled that “a review of the record shows that

 the district court did not err in adopting the factual determinations of the PSR” and

 “[t]here is no basis in the record to question the district court’s and the PSR’s reliance on

 Legarde in determining drug quantity, particularly since the PSR’s calculated amount of

 11.76 kilograms was 10.25 kilograms more than necessary to assess Keith Henderson

         13
              Superseding Indictment (Rec. Doc. 60); Presentence Investigation Report (Rec. Doc. 112), p.
 5, 6.

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 with the same base offense level.” 14

         A court may dismiss a §2255 motion which raises claims previously raised on

 direct appeal. United States v. Santiago, 993 F.2d 504, 506 (5 th Cir. 1993). An exception

 may be made if the movant relies upon an intervening change in the law or newly

 discovered evidence.

         At the time of sentencing, Henderson was charged with a base level offense of 38

 points, which required a quantity of 1.5 KG or more of Cocaine Base.15 This was still the

 law at the time of the Judgment issued by the Fifth Circuit, who reasoned there was no

 reason for the district court or the PSR to question the reliability of the 11.3 kilograms

 attributable to Legarde’s testimony, in part because only 1.5 kilograms were necessary for

 a base offense level of 38. However, subsequent to sentencing and appeal, the guidelines

 were amended and the base offense level for 1.5 kilograms of cocaine base was changed

 to 28.16 For a base offense level of 38, 4.5 kilograms of cocaine base were required under

 the amendments.17 After the guidelines were amended, Henderson challenged his

 sentence based on those changes.18 The district court acknowledged a change in the base


         14
              Judgment (Rec. Doc. 142), p. 12, 13.
         15
              United States Sentencing Commission, Guidelines Manual,, §2D1.1 (Nov. 2005).
         16
              Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. §3582(c)(2)(Rec. Doc.
 160).
         17
              United States Sentencing Commission, Guidelines Manual,, §2D1.1 (Nov. 2007).
         18
          Motion for Modification of Imposed Term of Imprisonment Pursuant to 18 U.S.C. § 3582(c)(2);
 Sentencing Guidelines § 201.1(C) as Amended November 1, 2007 and Made Retroactive on December

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 level offense for 1.5 kilograms of cocaine base from 38 to 28, but it found no reduction in

 sentence was appropriate: “As defendant was held accountable for more than 4.5

 kilograms of cocaine base [the amount required for Level 38], his sentencing guidelines

 are not affected by the amendments.” 19 Thus, as a result of the inclusion of the 11.3

 kilograms, Henderson was charged with an amount of cocaine base in excess of the

 amounts required for a Level 38 offense, both under the old and new guidelines.

 However, under the new guideline amounts, the amount attributed to Henderson in excess

 of the level 38 offense was considerably less. In the interest of full consideration, the

 undersigned will reconsider, due to an intervening change in the law, any issues raised on

 direct appeal that may overlap with Henderson’s ineffective assistance of counsel

 argument in the habeas motion.

         In his motion, Henderson argues counsel was ineffective for failing to object to the

 inclusion of the 11.34 kilograms of cocaine attributed to him on the PSR from the

 testimony of Legarde. Henderson argues his brother Lionel’s PSR initially held him

 accountable for 11.76 grams of cocaine base, which included the 11.34 kilograms

 attributable to the testimony of Legarde, but his brother’s counsel objected and the

 amount was reduced to 178.3 grams based on Lionel’s conviction on Counts One (50

 gram conspiracy) and Two (128.3 grams).


 11, 2007, Effective March 3, 2008, with Any Other Relief Available at Resentencing (Rec. Doc. 146).
         19
              Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. §3582(c)(2)(Rec. Doc.
 160).

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        In its opposition, the government states the reduced amount of cocaine attributed

 to Lionel did not affect his life sentence and therefore the government did not object to

 the reduction. However, the government argues, if it would have objected, the Court

 would have sustained its objection and the amount would not have been reduced. In any

 case, the government admits that “the relevant conduct finding would have made a

 difference as to Keith Henderson. . . .” 20

        As the undersigned calculates the amounts, if the 11.34 kilograms would have

 been excluded from the calculation of the cocaine amounts, Henderson’s offense level

 would only have included the following amounts: Count 1, 50 grams; Count 2, 128.3

 grams; and Count 3, 124.9 grams, for a total of 303.20. Under the sentencing guidelines

 in effect at the time of sentencing, 303.2 grams would have resulted in an offense level of

 34.21 Henderson had a criminal history category of III.22 His criminal history category,

 combined with an offense level of 34, would have resulted in a guidelines range of 188 to

 235 months, instead of a guidelines range of 292 to 365 months.23 The court found the

 mandatory minimum for sentence for his offenses, due to a prior conviction, was 20 years




        20
          Memorandum in Support of Answer by the United States to Motion to Vacate, Set Aside or
 Correct Sentence Under 28 U.S.C. § 2255 (Rec. Doc. 151-1), p. 15.
        21
             See 2D1.1(3).
        22
             Presentence Investigation Report (Rec. Doc. 112), p. 11.
        23
             United States Sentencing Commission, Guidelines Manual, §3E1.1 (Nov. 2005).

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 or 240 months.24 Keith Henderson was sentenced to the bottom range of the guidelines in

 effect at the time, or 292 months, or 52 months above the statutory minimum.25 Thus, the

 undersigned finds if an objection to the inclusion of the 11.34 kilograms in the PSR had

 been sustained, there is a reasonable probability that the result of the proceeding would

 have been different. That is, Henderson would likely have been sentenced to the

 mandatory minimum of 240 months. The guidelines’ maximum advisory sentence for a

 base level 34 offense would have been 235 months, 5 months less than the statutory

 minimum, making it likely the statutory minimum sentence would have been imposed

 instead of a level 38 minimum guidelines sentence, 52 months greater than the statutory

 minimum of 240 months. 26 “A reasonable probability is a probability sufficient to

 undermine confidence in the outcome.” Strickland, 466 U.S. at 694. Therefore, the issue

 is whether there is a reasonable probability that an objection to the inclusion of the 11.34

 kilograms in Keith Henderson’s PSR would have been sustained.

         A review of the sentencing transcript shows that although Henderson’s attorney

 did not denominate his arguments as an objection, he did make an argument that the PSR

 amounts attributable to Legarde were unreliable and unfairly considered:


         24
         Reporter’s Official Transcript of the Sentencing Hearing Before the Honorable Tucker L.
 Melancon United States District Judge (Rec. Doc. 149), p. 19.
         25
              Id., p. 20.
         26
           Moreover, when the sentencing guidelines for crack cocaine were amended, the amended
 guidelines would have provided for a an offense category of Level 32 for 303 grams of cocaine base,
 which with a criminal history category of III, would have reduced his sentencing range to 151 to 188
 months – even further below the statutory minimum.

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      MR. JOHN: Your Honor, I believe that when you analyze the
      preponderance of the evidence, which actually specifically it’s an indicia of
      reliability is what the guideline says which has been interpreted by the
      Commission to be a preponderance of the evidence, I believe that the
      government has met that standard in everything that was placed in the
      report. Particularly we’re talking about the criminal history category, how
      that was compiled, the two points plus two more points for probation - - for
      an offense committed while under probation.

      In addition, the calculation for relevant conduct of 11.3 kilos, both of those
      were based on an indicia of information that we saw no objection to raise in
      that form under the way it’s structured, but, beyond that, we are concerned
      about the constitutional violence that was done to my client’s right of
      confrontation and that’s where our – and our rights to not incriminate
      himself in trial.
                                             ***
      So what you have is a structure where the indicia and the preponderance
      trap is laid at trial because that hearsay comes in, and if you’re trying to
      protect the rest of your case, there’s no way you can attack that one fact of
      how this calculation was made.

      If someone says I bought from someone 200 times, there’s no way on earth
      a competent defense attorney would say, okay, I’m going to put you on the
      witness stand to say you didn’t see him 200 times because there’ just not
      enough days in the year.
                                             ***
      We’re asking the Court look and see that the reliability is compromised,
      generally speaking, because you’ve got to give something up that’s a bigger
      puppy than to attack that one. We’re damned if we do and damned if we
      don’t to attack that particular fact from getting in and being used as the
      basis for the - - what the sentencing guideline requires.
                                             ***
      We filed no objection because we believe that when you boil it back down
      to that, there’s nothing in this presentence report that wasn’t brought up
      before and has a basis, a leg to stand on. What the Court does is up to the
      Court.
      So based on what, there is no objection that we believe would affect the
      outcome of the guidelines, and all we have to present today is some
      arguments about the way this thing is working post-Blakely for the record.
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        THE COURT: All right. Let me just say for the sanctity of the record, to
        the extent there was an objection or it might be construed as an objection,
        the court will overrule that objection.27 (Emphasis added).

        The defendant during his sentencing hearing also gave a statement to the Judge, as

 follows:

        And I just - - I don’t understand like on the PSI where they use - - I think it
        was eleven kilograms cocaine base. Ain’t no way possible that, you know,
        Mr. Legarde could state that, you know, that we was selling that kind of
        cocaine. I mean, everybody - - the jury know that Mr. Legarde’s testimony
        - - I mean, it’s hard for me to plead guilty to something that I know I didn’t
        commit.28

        A review of the transcript shows counsel and defendant were both voicing

 opposition to the inclusion of the 11.3 kilos in the PSR. However, also apparent from the

 transcript is that the Judge expressly stated that to the extent the opposition was an

 objection it was overruled.

        At the sentencing of Keith Henderson’s brother, Lionel Henderson, counsel for

 Lionel Henderson objected to, inter alia, Paragraph 15 on Lionel Henderson’s PSR,

 where the 11.34 kilograms of cocaine base were to be added into the amount of cocaine

 for the base offense level calculation. Paragraph 15 on Lionel Henderson’s report is

 virtually identical with Paragraph 13 on Keith Henderson’s report, except the respective

 defendant’s name is emphasized in the report relevant to him. However, a closer look at



        27
         Reporter’s Official Transcript of the Sentencing Hearing Before the Honorable Tucker L.
 Melancon United States District Judge (Rec. Doc. 149), pgs. 4 - 6.
        28
             Id., p. 17.

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 the paragraphs shows Legarde testified he bought drugs from Keith Henderson, and

 “from Lionel Henderson if Keith Henderson could not be reached.” 29 Thus, it appears

 Legarde testified the Keith Henderson was the primary seller and Lionel Henderson was

 used as a seller only if Keith Henderson was not available. Thus, even though the Court

 found the PSR’s 11.3 grams of cocaine unreliable as to Lionel Henderson, it does not

 necessary follow that the Court would have also found the PSR’s 11.3 grams of cocaine

 unreliable as to Keith Henderson.

        For the reasons given above, the undersigned finds there is no reasonable

 probability that a formal objection to the inclusion of the 11.34 kilograms in Keith

 Henderson’s PSR would have been sustained, and therefore Keith Henderson has failed to

 show any prejudice from his counsel’s performance.

 Conclusions and Recommendation

        For the reasons given above, the undersigned finds counsel for defendant Keith

 Henderson was not ineffective for failing to request a Daubert hearing or for failing to

 formally object at sentencing to the inclusion of the 11.34 kilograms of cocaine base in

 the PSR. Therefore,

        IT IS RECOMMENDED that Keith Roman Henderson’s Petition for Writ of

 Habeas Corpus Pursuant to Title 28 U.S.C. 2255 to Vacate, Set Aside, or Correct

 Sentence by a Person in Federal Custody (Rec. Doc. 147) be DENIED and DISMISSED


        29
             Presentence Investigation Report (Rec. Doc. 112), p. 5.

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 WITH PREJUDICE.

        Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this recommendation have fourteen (14) days from service of this Report

 and Recommendation to file specific, written objections with the Clerk of Court. A party

 may respond to another party’s objections within fourteen (14) days after being served

 with a copy of any objections or response to the District Judge at the time of filing.

        Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this Report and Recommendation within

 fourteen (14) days following the date of its service, or within the time frame

 authorized by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either

 the factual findings or the legal conclusions accepted by the District Court, except

 upon grounds of plain error. See Douglass v. United Services Automobile

 Association, 79 F.3d 1415 (5 th Cir. 1996).

        Pursuant to Rule 11(a) of the Rules Governing Section 2255 Proceedings for the

 United States District Courts, this court must issue or deny a certificate of appealability

 when it enters a final order adverse to the applicant. Unless a Circuit Justice or District

 Judge issues a certificate of appealability, an appeal may not be taken to the court of

 appeals. Within fourteen (14) days from service of this Report and

 Recommendation, the parties may file a memorandum setting forth arguments on

 whether a certificate of appealability should issue. See 28 U.S.C. § 2253(c)(2). A



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 courtesy copy of the memorandum shall be provided to the District Judge at the

 time of filing.

        Lafayette, Louisiana, this 8 th day of October, 2010.




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